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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)
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    Properties, Inc., Beacon Capital Partners LLC,
    Columbia Property Trust and Manulife
    Investment Management (John Hancock Life
    Insurance Company)

      -and-

    GENOVA BURNS LLC.
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    Local Counsel for Landlords affiliated with
    Boston Properties, Inc., Beacon Capital
    Partners LLC, Columbia Property Trust and
    Manulife Investment Management (John
    Hancock Life Insurance Company)

    In re:                                                          Chapter 11

    WEWORK INC., et al.,                                            Case No. 23-19865-JKS

                                   Debtors.1                        Joint Administration Pending




1
  The Debtors in these Chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: WeWork Inc. (4904), in addition to all affiliates listed in Rider 1 to the petition filed in this case [Doc
1].
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                     APPLICATION FOR AN ORDER FOR ADMISSION
                      PRO HAC VICE OF DOUGLAS B. ROSNER, ESQ.

       Pursuant to Rule 101.1 of the Local Civil Rules for the United States District Court for the

District of New Jersey and Rule 9010-1 of the Local Rules of the United States Bankruptcy Court,

District of New Jersey, the undersigned counsel hereby seeks entry of an order granting the admission

pro hac vice of Douglas B. Rosner, Esq. of the law firm of Goulston & Storrs P.C., to represent

Landlords affiliated with Boston Properties, Inc., Beacon Capital Partners LLC, Columbia Property

Trust and Manulife Investment Management (John Hancock Life Insurance Company) in the above-

captioned chapter 11 case. In support of this application, counsel submits the attached Certification

of Douglas B. Rosner, Esq., and requests that the proposed form of order submitted herewith be

entered. Counsel certifies that he is admitted, practicing, and a member in good standing with the

Bar of the State of New Jersey.



 Date: November 7, 2023                             /s/ Donald W. Clarke
                                                  Donald W. Clarke
                                                  GENOVA BURNS
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                                                  Telephone: (973) 230-2095
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                                                  Local Counsel for Landlords affiliated with
                                                  Boston Properties, Inc., Beacon Capital
                                                  Partners LLC, Columbia Property Trust and
                                                  Manulife Investment Management (John
                                                  Hancock Life Insurance Company)
